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                       Exhibit 8
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         Infringement Claim Chart for U.S. Pat. No. US7023979B1 v. Rent-a-Wreck (“Defendant”)


   Claim10                                             Evidence
10. A           The Rent-a-wreck Customer Service performs a method for communicating in a
communication   communication network.
s method
comprising:     For Example, Rent-a-wreck Customer Service performs a method of communicating by
                establishing, over a communication network, a call between callers with a request to the
                appropriate department for assistance.




                Source: https://www.rentawreck.com/contact.htm




                                                 1
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                  Source: https://www.rentawreck.com/helpful-information.htm




                  Source: https://www.rentawreck.com/initchat.html

(a) receiving a   The Rent-a-Wreck Customer Service receives a plurality of communications, each having
plurality of      associated classification information.




                                                   2
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communications
, each having    For example, Rent-a-Wreck Customer Service receives calls from multiple callers. For
associated       each call, a user provides information about the nature of the call by selecting the
classification   appropriate department from the given choices via keypad entry. The responses are
information;     used to classify the call.




                 Source: https://www.rentawreck.com/contact.htm




                                                 3
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      Source: https://www.rentawreck.com/helpful-information.htm




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                    Source: https://www.rentawreck.com/initchat.html

(b) storing         The Rent-a-wreck Customer Service maintains information about potential targets that
information         includes support agents, departments, or specific resources capable of handling different
representing        types of inquiries.
characteristics
of a plurality of   For example, Rent-a-wreck Customer Service stores information about the skill set
potential           possessed by agents who are potential targets of the call.
targets;




                    Source: https://www.rentawreck.com/contact.htm




                                                     5
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                  Source: https://www.rentawreck.com/helpful-information.htm




                  Source: https://www.rentawreck.com/initchat.html

(c) determining   The Rent-a-wreck Customer Service determines an optimum target for each
an optimum        communication based on the communication classification and target characteristics




                                                  6
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target for each     using a multivariate cost function comparing at least three potential targets.
communication
based on the        For example, Rent-a-wreck Customer Service analyses the caller selection to determine
communication       one or more skills that an agent who is selected to receive the call should have in order
classification      to provide the caller with the requested assistance. The system directs the complaints to
and target          the team of Rent-a-Wreck directly by filing it to the complaintsboard.com (i.e., a
characteristics     multivariate cost function). The company employs numerous agents, at least three of
using a             which possess the skill set required by the call.
multivariate cost
function
comparing at
least three
potential
targets; and




                    Source: https://www.rentawreck.com/contact.htm




                                                      7
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      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




                                       8
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                  Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts


(d) routing the   The Rent-a-Wreck Customer Service routes the communication to the optimum target.
communication
to the optimum    For example, upon determining, as the optimum target, the agent to which the call
target,           should be routed, Rent-a-Wreck Customer Service directs the call to that destination




                                                  9
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      agent.




      Source: https://www.rentawreck.com/contact.htm




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      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




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                 Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts


said determining The Rent-a-Wreck Customer Service performs the determination and the routing steps
step and said    within a common operating environment.
routing step
being performed For example, when a caller provides information about the nature of the call by selecting




                                                  12
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within a        the appropriate department from the given choices, then ComplaintsBoard.com
common          automates the skill-based call routing to the Rent-a-Wreck team (i.e., in a common
operating       operating system).
environment.




                Source: https://www.rentawreck.com/contact.htm




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      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




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      Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts




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